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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  BACK2HEALTH CHIROPRACTIC
  CENTER, LLC, individually and on           Case No. 2:20-cv-06717-JMV-MF
  behalf of all others similarly situated,

                             Plaintiff,
                      -v-                    Motion Day: August 17, 2020

  SENTINEL INSURANCE
  COMPANY, LTD.,                             Oral Argument Requested
                   Defendant.



  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT SENTINEL’S
    MOTION TO DISMISS NATIONWIDE CLASS ACTION CLAIMS
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       Back2Health Chiropractic Center, LLC has brought suit against Sentinel

 Insurance Company to enforce an insurance policy that Back2Health reads to cover

 lost business income stemming from COVID-19, the disease caused by the novel

 coronavirus, SARS-Cov-2.1

       Back2Health also seeks to represent a nationwide class of Sentinel insureds.

 But there is a problem: Back2Health is a New Jersey company operating only in

 New Jersey, suing under a New Jersey insurance policy. Back2Health lacks

 standing and this Court lacks personal jurisdiction over Sentinel with respect to

 Back2Health’s claims on behalf of insureds in other States under the law of other

 States. Sentinel therefore moves to dismiss Back2Health’s nationwide claims

 under Federal Rule of Civil Procedure 12(b)(1) and (b)(2).

                                  BACKGROUND

       Back2Health is a New Jersey limited liability company with its principal

 place of business in Fair Lawn, New Jersey. Compl. ¶ 7. Sentinel is allegedly a

 Connecticut company with its principal place of business in Hartford, Connecticut.

 Compl. ¶ 9. Back2Health alleges that Sentinel issued it commercial property

 insurance that covers loss or damage to its New Jersey premises, including for

 business interruption. See Compl. ¶¶ 12-19, 42. Back2Health claims that this


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       Back2Health filed a notice of voluntary dismissal as to former defendant
 Hartford Financial Services Group, Inc. on July 13, 2020 (ECF No. 5), which the
 Court entered on July 14, 2020 (ECF No. 6).
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 policy covers its losses from COVID-19 and, alleging that Sentinel wrongly denied

 coverage, it brings causes of action for declaratory judgment and breach of

 contract.

       Back2Health does not claim to have any operations outside of New Jersey,

 and it alleges no interaction with Sentinel outside of New Jersey. And

 Back2Health is the only plaintiff—the complaint does not identify other putative

 class representatives outside of New Jersey, or any contacts inside the State of

 New Jersey between out-of-State class members and Sentinel. Back2Health

 nevertheless seeks to bring claims for breach of contract and for declaratory

 judgment on behalf of a nationwide class. See Compl. ¶¶ 46-47, 60-90.

                                    ARGUMENT

       The Court should dismiss the nationwide class claims for two reasons. First,

 Back2Health lacks standing to pursue claims under other States’ laws on behalf of

 out-of-State policyholders who have had no contact with Sentinel in New Jersey.

 Second, the Court does not have personal jurisdiction over Sentinel with respect to

 Back2Health’s claims purportedly on behalf of out-of-State class members, since

 Sentinel is not subject to New Jersey’s general jurisdiction and there is no specific

 jurisdiction as to claims with no connection to New Jersey. The nationwide class

 claims should therefore be dismissed under Rule 12(b)(1) and (b)(2). See also Fed.

 R. Civ. P. 23(c)(1)(A) (“At an early practicable time after a person sues or is sued

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 as a class representative, the court must determine by order whether to certify the

 action as a class action.”), (d)(1)(D) (“[T]he court may issue orders that … require

 that the pleadings be amended to eliminate allegations about representation of

 absent persons.”).

 I.    Back2Health Lacks Standing To Pursue Nationwide Claims

       Back2Health has no standing to represent the interests of putative class

 members that contracted with Sentinel outside of New Jersey. “A motion to

 dismiss for want of standing is … properly brought pursuant to Rule 12(b)(1),

 because standing is a jurisdictional matter.” Ballentine v. United States, 486 F.3d

 806, 810 (3d Cir. 2007). As the “party invoking federal jurisdiction,” it is

 Back2Health that “bears the burden of establishing the elements of standing.”

 FOCUS v. Allegheny Cty. Ct. of Com. P., 75 F.3d 834, 838 (3d Cir. 1996).

       The Supreme Court’s “standing cases confirm that a plaintiff must

 demonstrate standing for each claim he seeks to press.” DaimlerChrysler Corp. v.

 Cuno, 547 U.S. 332, 352 (2006). The Court has explained that “the standing

 inquiry requires careful judicial examination of a complaint’s allegations to

 ascertain whether the particular plaintiff is entitled to an adjudication of the

 particular claims asserted.” Allen v. Wright, 468 U.S. 737, 752 (1984) (emphasis

 added). And the fact “[t]hat a suit may be a class action … adds nothing to the

 question of standing.” Lewis v. Casey, 518 U.S. 343, 357 (1996) (quoting Simon v.


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 E. Ky. Welfare Rights Org., 426 U.S. 26, 40 n.20 (1976)). A named class “plaintiff

 still must allege a distinct and palpable injury to himself, even if it is an injury

 shared by a large class of other possible litigants.” Warth v. Seldin, 422 U.S. 490,

 501 (1975); see also O’Shea v. Littleton, 414 U.S. 488, 494 (1974) (“[I]f none of

 the named plaintiffs purporting to represent a class establishes the requisite of a

 case or controversy with the defendants, none may seek relief on behalf of himself

 or any other member of the class.” (citations omitted)). And, again, this

 requirement applies “for each claim” that a named plaintiff “seeks to press.”

 DaimlerChrysler, 547 U.S. at 352 (emphasis added). “Standing in the context of

 class actions remains a claim by claim prerequisite.” In re Wellbutrin XL Antitrust

 Litig., 260 F.R.D. 143, 151-152 (E.D. Pa. 2009).

       Under this precedent, a named plaintiff “may bring state law claims only

 under the law of the state where he or she lived and the alleged injury occurred.”

 Dzielak v. Whirlpool Corp., 26 F. Supp. 3d 304, 332 (D.N.J. 2014) (McNulty, J.).

 As this Court has explained, “courts in this Circuit have held that the plaintiff does

 not have standing to assert claims under the laws of states in which he does not

 reside.” Semeran v. Blackberry Corp., 2016 WL 3647966, at *6 (D.N.J. July 6,

 2016) (Vazquez, J.).2 In Semeran, this Court confronted a named plaintiff seeking


 2
        See also Ponzio v. Mercedes-Benz USA, LLC, __ F. Supp. 3d __, 2020 WL
 1183733, at *14 (D.N.J. Mar. 11, 2020) (Rodriguez, J.) (holding that plaintiffs
 “lack standing to assert claims on behalf of unnamed plaintiffs in jurisdictions
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 to assert a New Jersey common-law claim for breach of implied warranty on behalf

 of a class of cellphone purchasers in 31 states (plus a New Jersey only subclass).

 Id. at *1. The defendant argued that the multistate class claims must be dismissed

 for lack of standing. Id. This Court agreed, holding that “because Plaintiff is not a

 member of the class of thirty-one states, he cannot prosecute claims on behalf of

 those in that class.” Id. at *6. Thus, it dismissed the claims purportedly brought

 on behalf of the multistate class. Id.

       “The reason for this approach should be clear.” Dzielak, 26 F. Supp. 3d at

 332 n.18. “If this were not the case, a ‘plaintiff would be able to bring a class

 action complaint under the laws of nearly every state in the Union without having

 to allege concrete, particularized injuries relating to those states, thereby dragging

 defendants into expensive nationwide class discovery, potentially without a good-

 faith basis.’” Id. (quoting In re Magnesium Oxide Antitrust Litig., 2011 WL

 5008090, at *10 (D.N.J. Oct. 20, 2011) (Debevoise, J.)). “This reasoning rings

 particularly true here, where Plaintiff is alleging breach of contract … claims in



 where Plaintiffs have suffered no alleged injury”); McGuire v. BMW of N. Am.,
 LLC, 2014 WL 2566132, at *6 (D.N.J. June 6, 2014) (Linares, J.) (“Plaintiff here
 lacks standing to assert claims under the laws of the states in which he does not
 reside, or in which he suffered no injury.”); In re Ductile Iron Pipe Fittings (DIPF)
 Indirect Purchaser Antitrust Litig., 2013 WL 5503308, at *11 (D.N.J. Oct. 2,
 2013) (Thompson, J.) (“After reviewing the different approaches, this Court agrees
 that named plaintiffs lack standing to assert claims under the laws of the states in
 which they do not reside or in which they suffered no injury.”).
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 literally every state in the Union.” Federman v. Bank of Am., N.A., 2014 WL

 12774688, at *11 (D.N.J. Dec. 16, 2014) (Pisano, J.) (holding that a New Jersey

 plaintiff whose “injury has no causal relation to the other 49 states, nor do the laws

 of the other 49 states provide redress … lacks standing to bring claims for breach

 of contract … under the laws of any other state”).

       Other decisions in this District have declined to consider a named plaintiff’s

 standing to bring all claims on a motion to dismiss, but they are far less persuasive.

 This line of cases appears to begin with Ramirez v. STi Prepaid LLC, 644 F. Supp.

 2d 496 (D.N.J. 2009) (Wigenton, J.). There, the court held that “named

 representative plaintiffs initially need only establish that they individually have

 standing to bring their claims,” calling “the fact that the named Plaintiffs may not

 have individual standing to allege [claims] in states other than [their own]” both

 “immaterial” and “an issue to be resolved at the class certification stage.” Id. at

 504-505.

       STi Prepaid fails to recognize, however, that “a plaintiff must demonstrate

 standing for each claim he seeks to press.” DaimlerChrysler, 547 U.S. at 352

 (emphasis added). A plaintiff like Back2Health that wants to press claims under

 the laws of fifty States must have standing to do so—those are its “individual

 claims.” STi Prepaid, 644 F. Supp. 2d at 505. If Back2Health is not pressing

 those out-of-State claims, then no one is—Back2Health is the only named plaintiff.

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 STi Prepaid never cited DaimlerChrysler or any other of the Supreme Court’s

 standing cases that “confirm” this principle. DaimlerChrysler, 547 U.S. at 352;

 see supra at 3-4. But STi Prepaid’s conclusion—although at odds with Supreme

 Court precedent—then influenced future cases. See, e.g., In re FieldTurf Artificial

 Turf Mktg. & Sales Practices Litig., 2019 WL 4957933, at *3 (D.N.J. Oct. 8, 2019)

 (Shipp, J.); In re Dr. Reddy’s Lab. Ltd. Sec. Litig., 2019 WL 1299673, at *12

 (D.N.J. Mar. 21, 2019) (Sheridan, J.). This Court should reject that mistaken

 approach, as it did in Semeran v. Blackberry Corp.

       Instead, properly applying Supreme Court precedent shows that

 Back2Health has no standing to represent the interests of out-of-State putative

 class members. Back2Health exists in one State and purchased insurance from

 Sentinel in one State: New Jersey. The claims that any nonresident putative class

 members may have arise under the laws of the States governing their particular

 contracts. After all, a “claimed right to insurance coverage is a creation of state

 contract law.” In re U.S. Brass Corp., 110 F.3d 1261, 1268 (7th Cir. 1997); see

 also Gen. Eng’g Corp. v. Martin Marietta Alumina, Inc., 783 F.2d 352, 356 (3d

 Cir. 1986) (“The construction of contracts is usually a matter of state … common

 law.”); Ruhlin v. N.Y. Life Ins. Co., 106 F.2d 921, 923 (3d Cir. 1939) (noting the

 “general rule that the construction of an insurance contract is governed by the law

 of the state”); Johnson Matthey Inc. v. Pa. Mfrs.’ Ass’n Ins. Co., 593 A.2d 367,

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 371 (N.J. Super. Ct. App. Div. 1991) (noting that if an insured party has locations

 “in 50 states” then “its policy would cover … liabilities in 50 states … under 50

 different bodies of law,” and thus “the same nationwide policy language may mean

 different things to different states of contracting”). If Sentinel has breached

 another State’s contract law—which Sentinel denies—Back2Health has suffered

 no harm from it. Back2Health thus has no standing to assert common-law claims

 for breach of contract (or seek declaratory relief as to the meaning of contracts)

 under the laws of States for which it has no connection and for alleged breaches

 that have caused it no harm.

 II.   This Court Lacks Personal Jurisdiction Over Sentinel For
       Back2Health’s Claims Brought On Behalf Of Nonresident Class
       Members

       Back2Health’s lack of standing suffices as a basis to dismiss the nationwide

 class claims. The absence of personal jurisdiction supplies a second, independent

 basis for the same relief. This Court’s personal jurisdiction over Sentinel derives

 from its specific contacts with the forum—that is, its policy insuring

 Back2Health’s New Jersey business. Sentinel does not contest the Court’s

 personal jurisdiction over it for the claims of New Jersey policyholders like

 Back2Health. But this Court has no personal jurisdiction over Sentinel for claims

 with no connection to the State of New Jersey.

       On a motion to dismiss under Federal Rule of Civil Procedure 12(b)(2), the


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 plaintiff bears the burden to demonstrate that personal jurisdiction exists. See

 Metcalfe v. Renaissance Marine, Inc., 566 F.3d 324, 330 (3d Cir. 2009). The law

 of the forum State and federal due process set the limits for this Court’s exercise of

 personal jurisdiction—a single inquiry here, since “New Jersey’s long-arm statute

 provides for jurisdiction coextensive with the due process requirements of the

 United States Constitution.” Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 96 (3d

 Cir. 2004) (citing N.J. Ct. R. 4:4-4(c)). Personal jurisdiction over a defendant may

 be “general or all-purpose jurisdiction” or “specific or case-linked jurisdiction.”

 Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011).

       General jurisdiction—by which a defendant is subject to any suit—exists

 only where a defendant is “essentially at home.” Goodyear, 564 U.S. at 919. For

 “a corporation, the place of incorporation and principal place of business” are the

 paradigmatic locations. Daimler AG v. Bauman, 571 U.S. 117, 137 (2014).

 Otherwise, to be subject to general jurisdiction, a corporation’s contacts must be

 “so ‘continuous and systematic’ as to render them essentially ‘at home’ in the

 forum state.” Id. at 139. Sentinel is incorporated and has its principal place of

 business outside New Jersey, see Compl. ¶ 9, and Back2Health alleges no contacts

 by Sentinel with New Jersey other than Back2Health’s own insurance policy. So

 this Court does not have general jurisdiction over Sentinel.

       Specific jurisdiction, on the other hand, applies only to claims that arise out

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 of or relate to the defendant’s contacts purposefully directed at the forum and only

 when it “comport[s] with fair play and substantial justice.” Burger King Corp. v.

 Rudzewicz, 471 U.S. 462, 476 (1985); see also O’Connor v. Sandy Lane Hotel Co.,

 496 F.3d 312, 317 (3d Cir. 2007). For instance, this Court has specific jurisdiction

 over Sentinel for claims arising out of New Jersey insurance contracts, like

 Back2Health’s own policy and those of other New Jersey insureds.

       Not so, however, for the claims that Back2Health purportedly asserts on

 behalf of unnamed putative class members outside New Jersey. This Court cannot

 exercise jurisdiction over Sentinel for claims of nonresident putative class

 members with no adequate link to New Jersey. This conclusion follows from the

 Supreme Court’s decision in Bristol-Myers Squibb Co. v. Superior Court of

 California, 137 S. Ct. 1773 (2017). That case held that a California court could not

 exercise specific jurisdiction in a mass tort action over a defendant for claims by

 nonresident plaintiffs with no “adequate link” to the State of California—even if

 “other plaintiffs … who reside in California … can bring claims similar to those

 brought by the nonresidents.” Id. at 1781. This means that each claim must arise

 from a defendant’s forum-related activities—and it does not matter whether

 specific jurisdiction exists for a different claim. See id. at 1783.

       The same logic that precluded specific jurisdiction over Bristol-Myers for

 claims by nonresident plaintiffs applies here. “What is needed—and what is

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 missing here—is a connection between the forum and the specific claims at issue.”

 Bristol-Myers, 137 S. Ct. at 1781. There is no connection between the specific

 claims that Back2Health attempts to assert on behalf of non-New Jersey putative

 class members and the State of New Jersey—by definition, those claims are not by

 New Jersey companies, are not based on New Jersey insurance law, and are not

 disputing coverage for New Jersey businesses. “The mere fact that” Back2Health

 obtained an insurance policy in New Jersey—“and allegedly sustained the same

 injuries as did the nonresidents—does not allow the State to assert specific

 jurisdiction over the nonresidents’ claims.” Id.

       For good reason, then, courts have held that they lack personal jurisdiction

 over a defendant for claims with no connection to the forum State brought by a

 resident named plaintiff on behalf of nonresident unnamed putative class members.

 “Members of a nation-wide class action, aside from those class members from [the

 forum State], do not have a connection between the forum and the specific claims

 at issue.” In re Dicamba Herbicides Litig., 359 F. Supp. 3d 711, 724 (E.D. Mo.

 2019). Thus, spraying pesticides on Missouri soybeans does not grant specific

 jurisdiction over claims based on other States’ crops. Id. Or buying animal

 habitats in California does not permit “specific jurisdiction over nationwide class

 claims related to out of state purchases.” Carpenter v. PetSmart, Inc., _ F.3d _,




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 2020 WL 996947, at *5 (S.D. Cal. Mar. 2, 2020).3 Just so here: Under Bristol-

 Myers, Sentinel’s coverage decision on a New Jersey company’s New Jersey

 insurance policy covering its New Jersey business cannot support specific

 jurisdiction over claims with no connection to New Jersey.

       On the other hand, the courts that have distinguished Bristol-Myers have

 relied on facial rather than substantive distinctions. For instance, some courts have

 refused to apply Bristol-Myers to a class action because that case concerned a mass

 action. See, e.g., Mussat v. IQVIA, Inc., 953 F.3d 441, 443 (7th Cir. 2020) (holding

 that Bristol-Myers does not apply to “a nationwide class action filed in federal

 court under a federal statute”); Gress v. Freedom Mortg. Corp., 386 F. Supp. 3d

 455, 465 (M.D. Pa. 2019).

       But the reasoning of Bristol-Myers applies equally to a class action. Courts

 have widely rejected that distinction for claims by nonresident named plaintiffs,




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        See also, e.g., Zuehlsdorf v. FCA US LLC, 2019 WL 2098352, at *15 (C.D.
 Cal. Apr. 30, 2019) (dismissing “the class allegations as to the class members
 whose claims have no nexus with California”); Wenokur v. AXA Equitable Life Ins.
 Co., 2017 WL 4357916, at *4 n.4 (D. Ariz. Oct. 2, 2017) (noting that the court
 “lacks personal jurisdiction over the claims of putative class members with no
 connection to Arizona”). Cf. Roy v. FedEx Ground Package Sys., Inc., 353 F.
 Supp. 3d 43, 58 (D. Mass. 2018) (holding in Fair Labor Standards Act case that the
 failure to pay overtime in one State does not give rise to “personal jurisdiction over
 the claims of potential opt-in plaintiffs who do not work … in [that State]”);
 Maclin v. Reliable Reports of Tex., Inc., 314 F. Supp. 3d 845, 850 (N.D. Ohio
 2018) (same).
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 holding that Bristol-Myers does apply to their individual claims in a class action.4

 That conclusion is correct for claims asserted on behalf of nonresident unnamed

 plaintiffs as well. Like a mass action, a class action is “a species” of “traditional

 joinder,” which “merely enables a federal court to adjudicate claims of multiple

 parties at once, instead of in separate suits.” Shady Grove Orthopedic Assocs.,

 P.A. v. Allstate Ins. Co., 559 U.S. 393, 408 (2010) (plurality opinion). “A court

 that adjudicates claims asserted on behalf of others in a class action exercises

 coercive power over a defendant just as much as when it adjudicates claims of

 named plaintiffs in a mass action.” Molock v. Whole Foods Mkt. Grp., Inc., 952

 F.3d 293, 307 (D.C. Cir. 2020) (Silberman, J., dissenting); see also 2 WILLIAM

 RUBENSTEIN, NEWBERG ON CLASS ACTIONS (“NEWBERG”) § 6:25 n.5.50 (5th ed.)

 (“A putative class representative seeking to hale a defendant into court to answer to

 the class must have personal jurisdiction over that defendant just like any

 individual litigant must.”). And Bristol-Myers made clear that due process requires



 4
        See, e.g., Ponzio, 2020 WL 1183733, at *8; Chernus v. Logitech, Inc., 2018
 WL 1981481, at *5-6 (D.N.J. Apr. 27, 2018) (Wolfson, J.); Horowitz v. AT&T Inc.,
 2018 WL 1942525, at *15 (D.N.J. Apr. 25, 2018) (Martinotti, J.); see also Roy,
 353 F. Supp. 3d at 56-57 (“District courts generally have extended the specific
 jurisdiction principles articulated in Bristol-Myers to the analysis of personal
 jurisdiction over named plaintiffs in federal class actions.”) (collecting cases);
 Chufen Chen v. Dunkin’ Brands, Inc., 2018 WL 9346682, at *5 (E.D.N.Y. Sept.
 17, 2018) (explaining that applying Bristol-Myers to “each named plaintiff in a
 purported class action … comports with the weight of district court authority on
 the subject”) (collecting cases), aff’d, 954 F.3d 492 (2d Cir. 2020).
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 personal jurisdiction over a defendant for “the specific claims at issue,” 137 S. Ct.

 at 1781—which here includes Back2Health’s claims on behalf of nonresident

 putative class members. See NEWBERG § 6:26 (noting that “a proposed class-wide

 [judgment] triggers a defendant’s right to class-wide due process, that is, its right

 to ensure the requisite territorial connection between it and the court as to the full

 scope of its liability”).

        Thus, the reasoning of Bristol-Myers did not turn on the procedural nuances

 of a California mass action—it is a constitutional case. The Court tested an

 exercise of “the State’s coercive power” for “compatibility with the Fourteenth

 Amendment’s Due Process Clause.” 137 S. Ct. at 1779 (quoting Goodyear, 564

 U.S. at 918). Rule 23 does not and cannot abrogate the due process rights of

 defendants—a class action “is not a license for courts to enter judgments on claims

 over which they have no power.” Molock, 952 F.3d at 307 (Silberman, J.,

 dissenting); see also In re Dental Supplies Antitrust Litig., 2017 WL 4217115, at

 *9 (E.D.N.Y. Sept. 20, 2017) (“The constitutional requirements of due process do[]

 not wax and wane when the complaint is individual or on behalf of a class.

 Personal jurisdiction in class actions must comport with due process just the same

 as any other case.”); NEWBERG § 6:26 (“If the class prevails in the case, the goal is

 a binding judgment over the defendant as to the claims of the entire nationwide

 class—and the deprivation of the defendant’s property accordingly.”).

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       In deciding otherwise, courts have cited two differences between a mass

 action and a class action. See, e.g., Gress, 386 F. Supp. 3d at 465; Sotomayor v.

 Bank of Am., N.A., 377 F. Supp. 3d 1034, 1038 (C.D. Cal. 2019). First, “a plaintiff

 in a mass tort action is named as a plaintiff, making each ‘a real party in interest.’”

 Id.; see also Gress, 386 F. Supp. 3d at 465. Second, “Federal Rule of Civil

 Procedure 23 imposes additional due process safeguards on class actions that do

 not exist in the mass tort context.” Sotomayor, 377 F. Supp. 3d at 1038.

 Respectfully, neither of those facial differences adequately distinguishes the

 application of Bristol-Myers’s constitutional holding to class actions.

       First, focusing on the party status of absent class members misapprehends

 the inquiry. By this motion, Sentinel seeks dismissal of the nationwide class

 claims of the named plaintiff, Back2Health. Sentinel does not seek “to dismiss

 nonresident putative class members; it move[s] to dismiss the named plaintiffs’

 claim to represent those putative class members.” Molock, 952 F.3d at 303

 (Silberman, J., dissenting). Put otherwise, this motion “is challenging the named

 plaintiffs’ alleged entitlement to bring those claims on behalf of the putative class

 members.” Id. at 302 (emphasis original). “The putative class members’ claims

 are nominally present in the case, … even if the class members themselves are

 not.” So whether nonresidents are actual parties in interest in a mass action or

 unnamed plaintiffs in a precertification putative class action does not affect the

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 Court’s application of Bristol-Myers to the claims brought on nonresidents’

 behalf—the claims that Sentinel moves to dismiss.

       In addition, since nonresidents’ party status does not affect the personal

 jurisdiction analysis, this issue should be resolved now rather than delayed until

 class certification, as some courts have done. See, e.g., Cruson v. Jackson Nat’l

 Life Ins. Co., 954 F.3d 240, 250 (5th Cir. 2020); Molock, 952 F.3d at 296; Chernus

 v. Logitech, Inc., 2018 WL 1981481, at *7-8 (D.N.J. Apr. 27, 2018) (Wolfson, J.).

 When “a named plaintiff’s claim of entitlement to represent a class is defective as a

 matter of law, for example, because the court would lack personal jurisdiction over

 the defendant with respect to class claims, a defendant’s motion to dismiss or

 narrow the representative claim on those grounds is not premature.” Molock, 952

 F.3d at 303 (Silberman, J., dissenting); see also NEWBERG § 6:26 n.29 (noting that

 “regardless of how a court resolves the ‘party’ question, the fact remains that the

 goal of the nationwide class action is to disgorge nationwide relief from the

 defendant in the instant forum”).

       Second, Rule 23’s procedural requirements cannot and do not substitute for

 the constitutional due-process protections owed defendants. See Sotomayor, 377 F.

 Supp. 3d at 1038. “[T]he procedural safeguards of Rule 23 are meant primarily to

 protect the absent class members,” not “to favor or protect defendants”—which “is

 reflected in the fact that defendants almost always vigorously oppose class

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 certification.” PetSmart, 2020 WL 996947, at *6. Rule 23 “protect[s] the interests

 of the class” by requiring “representative parties” who have claims “typical of the

 claims … of the class.” Fed. R. Civ. P. 23(a)(3)-(4) (emphasis added). But

 common questions and typical claims alone cannot justify “expos[ing] defendants

 to the State’s coercive power.” Bristol-Myers, 137 S. Ct. at 1779 (quoting

 Goodyear, 564 U.S. at 918). Similarity between a resident named plaintiff’s

 individual claim and its claims asserted on behalf of unnamed nonresident

 plaintiffs might (or might not) satisfy Rule 23, but it does not empower a court to

 exercise jurisdiction over a nonresident defendant for the latter claims. That is the

 very mistake that the State of California made in Bristol-Myers, where it exercised

 personal jurisdiction merely “because the claims of the nonresidents were similar

 in several ways to the claims of the California residents.” Id. Explaining that it “is

 an insufficient basis for jurisdiction” that “third parties (here, the plaintiffs who

 reside in California) can bring claims similar to those brought by the nonresidents,”

 id. at 1781, the Supreme Court corrected that error. Courts applying Bristol-Myers

 should not repeat it.

       Since Back2Health’s claims on behalf of nonresident putative class members

 do not arise out of or relate to activities that Sentinel purposefully directed at the

 State of New Jersey, the Court lacks specific jurisdiction and need not consider

 whether jurisdiction would comport with fair play and substantial justice. See

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 O’Connor, 496 F.3d at 317. But this consideration too counsels against exercising

 specific jurisdiction. On this front, “the ‘primary concern’ is the burden on the

 defendant.” Bristol-Myers, 137 S. Ct. at 1780 (quoting World-Wide Volkswagen

 Corp. v. Woodson, 444 U.S. 286, 292 (1980)). And, as courts have recognized, the

 “burden … to defend a nationwide class action is significantly greater than the

 burden of defending an individual claim or a statewide class action.” PetSmart,

 2020 WL 996947, at *5. On the other hand, “the forum State’s interest in

 adjudicating the dispute” between nonresident putative class members and Sentinel

 is nonexistent—those unnamed plaintiffs have insurance policies under other

 States’ laws insuring businesses in other States with Sentinel, a nonresident

 defendant. Burger King, 471 U.S. at 477. The State of New Jersey’s interest will

 be entirely vindicated by adjudicating the New Jersey claims of Back2Health. And

 Back2Health’s “interest in obtaining convenient and effective relief” will also be

 wholly protected, because Back2Health itself is entitled to no relief for the out-of-

 State claims it allegedly brings for nonresident unnamed class members. Id. Last,

 it would not serve “the interstate judicial system’s interest in obtaining the most

 efficient resolution of controversies” (id.) to permit Back2Health to expand this

 narrow dispute—between a nonresident insurer and New Jersey policyholder over

 the meaning of a New Jersey insurance policy insuring a New Jersey business—

 with its claims purportedly on behalf of unnamed plaintiffs across the country.

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       Finally, whether this Court has personal jurisdiction over Sentinel for

 Back2Health’s claims on behalf of nonresidents is an issue to be resolved now.

 This case is one of many individual actions, putative statewide class actions, and

 putative nationwide class actions currently pending in 14 States and the District of

 Columbia that concern COVID-19 coverage under insurance policies issued by

 Sentinel (or related entities) under the laws of those States. Insureds outside New

 Jersey are pursuing their claims in their home States. There is no benefit to

 allowing non–New Jersey claims to linger in this case through class-certification

 briefing—and expansive, burdensome, and ultimately irrelevant nationwide class

 discovery—when those claims can be and are being more appropriately and

 efficiently litigated elsewhere. Nor do policyholders in California, Florida, or

 elsewhere benefit from having their contract claims under their States’ laws

 asserted by Fair Lawn chiropractors in a far-off forum—rather than in individual

 actions or putative statewide class actions in their home States.

       This issue is, therefore, properly considered at this stage. And it is properly

 resolved under Bristol-Myers, which requires that Back2Health’s claims

 purportedly asserted on behalf of nonresident unnamed class members be

 dismissed for lack of personal jurisdiction.

                                   CONCLUSION

       For these reasons, Back2Health’s claims purportedly brought on behalf of a

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 nationwide class should be dismissed for lack of standing and personal jurisdiction.

 Dated: July 17, 2020
                                       Respectfully submitted,

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